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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,                                     Case No. 23-CR-00118 (AT)
            v.                                                  DECLARATION OF
                                                            EDWARD PATRICK GILMAN
 HO WAN KWOK, et al.,
                                                           IN SUPPORT OF MOTION FOR
                           Defendants.                      ADMISSION PRO HAC VICE

                                                                        ECF CASE



        I, EDWARD PATRICK GILMAN, hereby declare as follows:

        1.       I am a partner with the law firm of Brown Rudnick LLP.

        2.       I submit this declaration in support of my Motion for Admission Pro Hac Vice in

the above-captioned matter.

        3.       As shown in the Certificates of Good Standing attached hereto as Exhibit A and B,

respectively, I am a member in good standing of the bars of the District of Columbia and the State

of Illinois. I am also admitted to practice before several federal courts, including the United States

Supreme Court, United States Court of Appeals for the Seventh Circuit, United States Court of

Appeals for the Armed Services, and the United States District Court for the Northern District of

Illinois.

        4.       I have never been convicted of a felony, never been censured, suspended, disbarred,

or denied admission or readmission by any court, and there are no pending disciplinary

proceedings presently against me in any court.

        5.       I respectfully request to be permitted to appear as counsel pro hac vice in this case

for Defendant Ho Wan Kwok.

        I declare under penalty of perjury that the foregoing statements are true and correct based
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on my personal knowledge.

      Executed this 6th day of June, 2023.


                                             /s/ Edward Patrick Gilman

                                             EDWARD PATRICK GILMAN
